Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 1 of 9 PageID# 1203




                  Exhibit C
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 2 of 9 PageID# 1204
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 3 of 9 PageID# 1205
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 4 of 9 PageID# 1206
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 5 of 9 PageID# 1207
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 6 of 9 PageID# 1208
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 7 of 9 PageID# 1209
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 8 of 9 PageID# 1210
Case 1:24-cv-01778-PTG-WBP Document 100-3 Filed 10/23/24 Page 9 of 9 PageID# 1211
